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                  UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MISSOURI
                        EASTERN DIVISION
JEFF BONOMO,                  )
                              )
      Plaintiff,              )
                              )
v.                            )     Cause No. 4:21-cv-00411-SEP
                              )
THE BOEING COMPANY,           )
                              )
      Defendant.              )

                                    ORDER OF JUDGMENT
       In accordance with the Memorandum and Order contemporaneously filed on this date and
incorporated herein,
       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is entered
in favor of Defendant against Plaintiff on all Counts.


Dated this 25th day of February 2022.




                                                         ____________________________________
                                                         SARAH E. PITLYK
                                                         UNITED STATES DISTRICT JUDGE
